Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 1 of 21 PageID #: 1




UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND


    ASHIA SYMONE HICKLIN

                         Plaintiff,
                                                                 Civil Case No.:
                               vs.
                                                                 COMPLAINT
    CVS HEALTH CORP., CVS PHARMACY INC.,
    CVS 3766 DACULA, L.L.C.
                                                                 Jury Trial Demanded

                        Defendants.



        Plaintiff Ashia Simone Hicklin, by her attorneys, The Law Office of Christopher Q. Davis,

PLLC, alleges upon personal knowledge and information and belief as to other matters, as follows:

                                              NATURE OF ACTION

        1.       Plaintiff Ashia Simone Hicklin (“Ms. Hicklin” or “Plaintiff”) brings this action

against her former employer Defendants CVS Health Corp. (“CVS Health”), CVS Pharmacy Inc.

(“CVS Pharmacy”) and CVS 3766 Dacula LLC (“CVS Dacula,” together with CVS Health and

CVS Pharmacy, referred to as “CVS”) for violations of the Civil Rights Act of 1866, 42 U.S.C.

§1981 (“Section 1981”).

        2.       Ms. Hicklin, just a few months into her employment with CVS, was repeatedly

subjected to ignorant discriminatory comments about Ms. Hicklin’s race.

        3.       After Ms. Hicklin garnered the courage to contact Human Resources (“HR”) to

complain about the race-based and sexual harassment, CVS refused to give any credence to her

complaints 1 .     Instead, CVS conducted a sham investigation, and rather than remedy the


1
         In addition to race-based harassment and disparate treatment, Ms. Hicklin was also subjected to severe and
pervasive sexual harassment. Ms. Hicklin’s sexual harassment claims are not actionable under Section 1981 and as
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 2 of 21 PageID #: 2




discrimination to which Ms. Hicklin was subjected to, constructively terminated Ms. Hicklin by

refusing her transfer request and forcing her to take a nonconsensual and indefinite unpaid leave

of absence.

         4.       Plaintiff now seeks lost pay and benefits, front pay and benefits, compensatory and

punitive damages, statutory penalties, attorneys' fees and costs, as well as declaratory and

injunctive relief for violations of Plaintiff’s statutory rights and injuries Plaintiff has sustained as

a result of Defendants’ unlawful employment discrimination based on her race in violation of

Section 1981.

                                 ADMINISTRATIVE PREREQUISITES

         5.       Prior to the filing of this Complaint, on December 7, 2020, Ms. Hicklin, filed a

complaint with the U.S. Equal Employment Opportunity Commission (“EEOC”) alleging

discrimination based on her race and sex in violation of Title VII of the Civil Rights Act of 1964,

42 U.S.C. §§ 2000e et seq. (“Title VII”). As soon as the EEOC completes its investigation into

Ms. Hicklin’s complaint and/or issues a Notice of Right to Sue, Ms. Hicklin will seek leave to

amend this Complaint to add Title VII claims against CVS.

         6.       Any and all other prerequisites to the filing of this suit have been met.

                                                    PARTIES

         7.       Plaintiff is an adult citizen of the United States and a resident of the state of Georgia.

Plaintiff voluntarily submits herself to jurisdiction in Rhode Island District Court.

         8.       Plaintiff was employed by Defendants as a Shift Supervisor from February 2020 to

September 2020 when she was constructively discharged.



such this Complaint will be amended to include such claims after she is provided a Right to Sue from the EEOC.
Nonetheless, Ms. Hicklin will set forth certain factual allegations as to the sexual harassment in order to provide the
fullest picture of the discrimination she faced and constructive discharge.


                                                          2
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 3 of 21 PageID #: 3




       9.      Defendant CVS Health Corporation (previously CVS Corporation or CVS

Caremark Corporation) is a Delaware corporation that claims to be the nation’s premier healthcare

company. This integrated healthcare company owns and operates, through its subsidiaries:

Defendant CVS Pharmacy Inc., a retail pharmacy chain, and Defendant CVS 3766 Dacula, LLC,

one of the retail pharmacies in CVS Pharmacy Inc.’s chain of pharmacies. CVS Health’s

headquarters is in Woonsocket, Rhode Island

       10.     Defendant CVS Pharmacy Inc. is a Rhode Island corporation with its principal

place of business at One CVS Drive, Woonsocket, Rhode Island 02895.

       11.     Defendant CVS 3766 Dacula, LLC, is a Georgia corporation with its principal place

of business at One CVS Drive, Woonsocket, Rhode Island 02895.

       12.     The 3 separately identified CVS entities: CVS Health, CVS Pharmacy Inc., and

CVS Dacula, were operated as a single enterprise or joint employer of Plaintiff, maintained

common management and interrelated operations, and shall hereafter be referenced singularly or

together as “CVS” or “Defendants.”

       13.     At all relevant times, CVS met the definition of Plaintiff’s “employer” under any

and all applicable statutes.

       14.     At all times relevant to this action, Plaintiff was an “employee” of Defendants.

       15.     At all times relevant to this action CVS has employed more than 250,000 people

working in its stores, pharmacies, distribution centers, clinics, and corporate headquarters.

                                JURISDICTION AND VENUE

       16.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331

and 1343 as this action involves federal questions regarding the deprivation of Plaintiff’s rights

under Section 1981, a federal law.




                                                 3
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 4 of 21 PageID #: 4




       17.      Since Defendants maintain their principal place of business in Rhode Island and are

subject to personal jurisdiction in Rhode Island, venue is proper within this district pursuant to 28

U.S.C. § 1391(b)(1) and (c)(2).

       18.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

                                       FACTUAL ALLEGATIONS

                       Ms. Hicklin’s Background and Employment at CVS

       19.      Ms. Hicklin is a 30-year-old African-American woman.

       20.      Ms. Hicklin was raised in Lancaster, South Carolina.

       21.      Ms. Hicklin was hired as a Shift Supervisor in CVS’s store in Dacula, Georgia (the

“Store” or “CVS Dacula”) in or about February 2020.

       22.      Ms. Hicklin was hired to work at the Store which is located at 3027 Jim Moore

Road, Dracula, GA 30019.

       23.      When Plaintiff was hired, there were four (4) retail supervisors including Plaintiff.

       24.      Plaintiff was the only black supervisor, the other three (3) were white.2

       25.      The Operations Manager for the Store was Alexis Hubbert, a white woman.

       26.      The Store Manager was Cara Brown, a white woman.

       27.       Ms. Hubbert acted as Store Manager when Ms. Brown was not in the Store.

       28.      The District Manager was William Andrew Hyde, a white man.

       Ms. Hicklin was Subjected to Extreme and Relentless Race-Based Harassment

       29.      In or around June 2020, just a few months into her employment at CVS, Ms. Hicklin

was subjected to months of race-based harassment.



2
       One of the other supervisors identified as Cuban.


                                                       4
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 5 of 21 PageID #: 5




         30.     It was at this time that demonstrations in support of the Black Lives Matter

 movement continued across the country to protest the death of George Floyd, a black man killed

 while in Minneapolis police custody on May 25, 2020.

         31.     The protests were both a reaction to Floyd’s death and an expression of frustration

 over longstanding concerns about the treatment of black people in the U.S.

         32.     Many Americans were using this moment in history to have conversations about

 race and racial equality; however, for Ms. Hicklin, it was at this time that her colleagues become

 more emboldened to disparage and harass her because of her race to the point of emotional

 collapse.

         33.     For example, in or around June 2020, Andrea Holt, a white Shift Supervisor, was

in the Store’s office talking with another employee while completing morning tasks and Ms. Hicklin

was also in the office at the time.

         34.     Ms. Holt was telling a story about her husband sleeping late, when she said, in sum

and substance, “I can’t believe this nigger is still in bed.”

         35.     The Operations Manager, Ms. Hubbert, and a Cashier, Nicolle Cordoba were both

in the room when Ms. Holt made these comments.

         36.     Ms. Hicklin was shocked, outraged and offended by Ms. Holt’s use of the N* word.

         37.     Ms. Hicklin immediately told Ms. Holt that she was offended at her use of the N*

 word and said, in sum and substance, “For you to feel it is okay to say the N* word when I am

 around, what must you be saying when I am not around?”

         38.     Ms. Holt attempted to justify her used the N* word by claiming that it was okay

 because she grew up around black people.

         39.     Ms. Holt’s response perpetuated a common justification for racism: the belief that




                                                    5
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 6 of 21 PageID #: 6




somehow proximity to blackness immunizes white people from doing racist things.

       40.     In the moment, Ms. Hicklin made it perfectly clear that she thought the use of the

N* word was both offensive and inappropriate.

       41.     Despite having been subject to extreme racial hostility, Ms. Hicklin was made to

feel, by the others in the room (all of whom were white), as if she had hurt Ms. Holt’s feelings for

speaking up about her use of the N* word.

       42.     Despite her protest, Plaintiff was continually subject to discriminatory comments

and harassment because of her race for months until she was constructively discharged.

       43.     By way of example only, multiple Store employees, including other supervisors

and the Operations Manager, constantly made derogatory comments about Ms. Hicklin’s hair,

which the EEOC’s Compliance Manual on Race and Color Discrimination has found constitutes

discrimination based on race.

       44.     Specifically, the EEOC manual protects against “employment discrimination based

on a person’s physical characteristics associated with race, such as a person’s color, hair, facial

features, height and weight.” (emphasis added).

       45.     These discriminatory comments included, for example, the Operations Manager

asking if Ms. Hicklin’s hair was real and a cashier repeatedly asking Ms. Hicklin to take her hair

off and show her real hair.

       46.     These comments were, at times, made in front of customers, who would respond

by telling Ms. Hicklin, “there is nothing wrong with your hair” or “your hair is beautiful.”

       47.     On another instance a white colleague commented that unlike Ms. Hicklin, she

didn’t have to “buy” her hair.




                                                  6
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 7 of 21 PageID #: 7




       48.     In another instance, Ms. Hicklin’s colleagues were laughing at her after the hair

product in her hair left residue on the wall.

       49.     Finally, when Ms. Hicklin’s hair would itch, which happened from time to time,

she would occasionally have to touch her hair during work, at which time Ms. Holt would say

“yeah, just do your black girl pat.”

       50.     These constant derogatory comments about Ms. Hicklin’s hair, a characteristic

associated with her race as a black woman, were severe, pervasive and subjectively and objectively

offensive.

       51.     Notably, Ms. Hicklin wears her hair in styles typical of black women, including

braids. These comments started mostly in the summer of 2020 and continued for the following

few months.

       52.     In addition to the racist comments about Ms. Hicklin’s hair, other employees at the

Store, including supervisory-level employees, would often tell racist jokes and make racists

comments in front of Ms. Hicklin, or even worse, about Ms. Hicklin.

       53.     For instance, one summer day, Ms. Hicklin and other employees were unloading a

delivery truck at the Store. Ms. Hicklin was very hot and went inside into the office to take a break

from the heat. Ms. Holt was in the office and the two were speaking about the blazing hot sun on

their skin, when Ms. Holt said, that “the reason why you (meaning black people) look darker than

us (meaning white people) is because God left you in the oven longer.”

       54.     Ms. Holt’s comment was sickeningly offensive.

       55.     Another time Ms. Hicklin overheard two Store associates calling her a “Porch

Monkey.”

       56.     This was an expression she had never heard before, but after looking it up, she




                                                 7
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 8 of 21 PageID #: 8




understood it to be a racial slur that characterizes black people as lazy, unintelligent, and having

nothing better to do than hang around on their porch.

         57.      On another occasion another Shift Supervisor said that Ms. Hicklin was spraying

perfume to “cover up the fried chicken and watermelon” smell – playing on an old stereotype of

black people.

         58.      Another time, Ms. Cordoba, a cashier, questioned where Ms. Hicklin lived, telling

her, “You can’t live here. There’s no black people who live here.”

         59.      Ms. Hicklin, as the only shift supervisor in the front of the Store, was frequently

asked by the Store Manager and other supervisors to follow young black customers around the

Store and, “Make sure you keep an eye on them.”

         60.      This was clearly racial profiling and was only done to black patrons. Ms. Hicklin

found it offensive because she understood that the only reason she was being asked to do this was

because she is black.

         61.      On top of this, if anything was missing in the Store, Ms. Hicklin was always the

first employee questioned, again because she is black.

         62.      As a direct and proximate result of the hostile work environment, Ms. Hicklin began

seeing a psychotherapist and taking medications to treat her depression and anxiety that was

brought on by her work environment.

            Ms. Hicklin was Subjected to Severe and Pervasive Sexual Harassment3

         63.      In addition to the ongoing harassment based on her race, Ms. Hicklin was also

subjected to severely humiliating and pervasive sexual harassment, including being physically



3
         Ms. Hicklin’s sexual harassment claims under Title VII will be included in an amended Complaint after she
receives a Right to Sue letter from the EEOC; however, she has set forth her factual allegations herein so as to only
have to amend her Complaint to include the Cause of Action.


                                                         8
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 9 of 21 PageID #: 9




assaulted by a colleague while at work.

       64.     Specifically, a cashier named Nicole Cordoba, on multiple occasions, forcibly

grabbed Ms. Hicklin’s breasts and her buttocks at work.

       65.     Ms. Cordoba was also one of the individuals who made racist comments and

contributed to the race-based hostile work environment set forth above.

       66.     In addition to grabbing Ms. Hicklin’s breasts and buttocks, Ms. Cordoba would also

pretend to stick her finger in Ms. Hicklin’s buttocks and poked her in her buttocks on multiple

occasions.

       67.     In addition to physically touching Ms. Hicklin in an overtly sexual and

inappropriate manner, Ms. Cordoba was also verbally abusive, frequently calling Ms. Hicklin

“bitch” or “whore.”

       68.     The sexual harassment was constant, and Ms. Hicklin repeatedly asked Ms.

Cordoba not to touch her; however, Ms. Cordoba would continue to inappropriately brush herself

against Ms. Hicklin’s breast or put her hand on her buttocks.

       69.     On the days that Ms. Cordoba would touch Ms. Hicklin inappropriately, Ms.

Hicklin felt so “dirty” that she would get home from work and immediately take a shower, often

staying in the shower for an hour scrubbing her skin so hard in order to help feel “clean” again.

       70.     In or about July 2020, Ms. Hicklin finally told the Store Manager, in sum and

substance, “Nicole keeps touching me inappropriately and keeps calling me a bitch and a whore.”

       71.     The Store Manager refused to take an incident report, brushed off Ms. Hicklin’s

complaints, and told Ms. Hicklin that her solution to the sexual harassment was that Ms. Hicklin

and Ms. Cordoba should just not speak anymore.

       72.     Predictably, this did not remedy the situation and instead made things worse.




                                                 9
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 10 of 21 PageID #: 10




        73.     After finally gathering the courage to report the sexual harassment to her Store

 Manager, Ms. Hicklin was than retaliated against by Ms. Cordoba as well as other supervisory

 employees of CVS.

 Ms. Hicklin Is Retaliated Against and Constructively Discharged Because She Complained
                  About Race-Based Harassment and Sexual Harassment.

        74.     After reporting to the Store Manager that Ms. Cordoba was inappropriately

 touching her, on or about August 14, 2020, Ms. Cordoba accused Ms. Hicklin of taking her

 AirPods, which she did not take.

        75.     At this point, as mentioned above, Ms. Hicklin and Ms. Cordoba had been

 instructed not to speak with one another after Ms. Hicklin reported to the Store Manager that Ms.

 Cordoba was sexually harassing her, up to and including, inappropriate physical touching.

        76.     Ms. Cordoba harassed Ms. Hicklin about the AirPods even though she knew Ms.

 Hicklin did not take them, and despite the fact that she was not supposed to be contacting Ms.

 Hicklin per the Store Manager’s directive.

        77.     Ms. Cordoba accused Ms. Hicklin of stealing her AirPods in order to provoke her

 in retaliation for Ms. Hicklin’s complaint about discrimination and harassment.

        78.     Ms. Hicklin asked Ms. Cordoba to stop texting her about the AirPods, told her that

 she did not have them, and reminded Ms. Cordoba that they were not supposed to have any contact

 per the Store Manager’s instructions.

        79.     Afterwards, Ms. Hicklin informed Ms. Holt (the Operations Manager) that Ms.

 Cordoba was disregarding the Store Manager’s directives, which Ms. Holt brushed off and failed

 to address.

        80.     When Ms. Holt failed to take any action, Ms. Hicklin called the Store Manager

 directly to inform her about what was going on.



                                                10
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 11 of 21 PageID #: 11




        81.     The Store Manager told Ms. Hicklin that she would be reporting the issue to the

 District Manager, but that Ms. Hicklin should nonetheless show up for work during her next shift.

        82.     That night, Ms. Hicklin suffered an emotional collapse triggering latent bipolarity.

 She attempted suicide and was stopped by her husband who found her in the act.

        83.     When she had recovered enough to talk with her husband, she finally revealed that

 fact that she had suffered months of enduring severe and pervasive sexual and race-based

 harassment, disclosed to him the discrimination and harassment, including the inappropriate

 touching, she was subjected to at work.

        84.     Two days later, Ms. Hicklin made a request to the Store Manager to be transferred

 to a different CVS location.

        85.     Instead, the Store Manager blamed Ms. Hicklin and told her that despite months of

 enduring discriminatory treatment based on her race and sex, and after being physically assaulted

 by a colleague, that Ms. Hicklin was the problem.

        86.     Ms. Hicklin had been complaining about the discriminatory treatment for months,

 including Ms. Cordoba’s harassment, and no one did anything to remedy the situation.

        87.     In August, after being told that she was the problem, Ms. Hicklin said to the Store

 Manager, in sum and substance, “I have been sexually assaulted, harassed, dealt with racism, and

 Andrew [the District Manager] sees me as the problem, I am the victim. I come to work, and I

 work hard from when I clock in to when I clock out. I opted out of break to make sure I get my

 job done.”

        88.     After this, the Store Manager told Ms. Hicklin that the District Manager did not

 know about any of the discrimination and harassment, despite the fact that Ms. Hicklin had made

 multiple complaints to her Store Manager.




                                                 11
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 12 of 21 PageID #: 12




        89.     CVS utterly failed to take any steps to correct or remedy the discrimination and

 harassment, despite Ms. Hicklin’s repeated complaints.

        90.     Finally, after complaining to her Store Manager went nowhere, in or about August

 2020, Ms. Hicklin contacted CVS’s Human Resources Department (“HR”) to make a more formal

 complaint.

        91.     In the HR complaint, Ms. Hicklin noted that she was complaining about sexual

 harassment, racial harassment, and sexual assault.

        92.     Specifically, Ms. Hicklin called and complained of sexual harassment, racial

 harassment and sexual assault to CVS’s HR hotline.

        93.     After she called in the complaint to CVS’s hotline, Ms. Hicklin was contacted by

 John Mansel, a corporate CVS employee, to investigate her claims.

        94.     When Ms. Hicklin spoke to Mr. Mansel he questioned why she did not report the

 harassment and discrimination when it first started happening and was further trying to discredit

 her allegations.

        95.     Ms. Hicklin was abundantly clear that she had reported it when it started happening

 to her Store Manager.

        96.     Mr. Mansel then followed up with Ms. Hicklin after speaking with Ms. Cordoba

 and others during his investigation. He proceeded to question whether Ms. Hicklin was merely

 “friends” with Ms. Cordoba and whether it was all just a joke because, according to Ms. Cordoba,

 the two were “friends” and “just playing.”

        97.     Ms. Hicklin made it very clear that (i) she and Ms. Cordoba were not friends; and

 (ii) at no point did Ms. Hicklin believe the discrimination and harassment was a game, she was

 never “playing,” and to suggest otherwise was offensive.




                                                12
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 13 of 21 PageID #: 13




        98.      Ms. Hicklin was both subjectively and objectively offended and uncomfortable

 with the racial discrimination, sexual harassment, and inappropriate physical touching in the

 workplace.

        99.     Ms. Hicklin was then referred to Sheila Whitaker, a Senior Manager of Employee

 Relations, and repeated what she had told others about the racial discrimination, sexual

 harassment, and inappropriate physical touching that she was subjected to at the Store.

        100.    Ms. Whitaker listened to Ms. Hicklin relay some of the things that has been said to

 her by her colleagues and said, in sum and substance, “Symone, are you sure you don’t use any

 foul language because you are cursing a lot right now.”

        101.    Once again, Ms. Hicklin was dismissed by CVS’s HR and had her own integrity

 questioned when she attempted to report the severe and pervasive racial and sexual harassment she

 was subjected to.

        102.    Ms. Hicklin made it perfectly clear to Ms. Whitaker that she was just repeating to

 her what happened and that the foul language was not her own words, but rather what was said to

 her by her colleagues at CVS.

        103.    Ms. Whitaker ended the conversation by informing Ms. Hicklin that she could not

 guarantee her a transfer, but that she would pass Ms. Hicklin’s case along to Melissa Payne, a

 Senior Investigator for Employee Relations.

        104.    Ms. Payne was assigned to investigate Ms. Hicklin’s complaints about racial

 discrimination and sexual harassment.

        105.    Plaintiff did not hear from Ms. Payne. After some time passed, Ms. Hicklin had to

 follow-up with Ms. Whitaker again because Ms. Payne never contacted her.

        106.    While waiting for a response from CVS’s HR team investigating her complaints of




                                                13
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 14 of 21 PageID #: 14




 discrimination and harassment, Ms. Hicklin’s mental health deteriorated further, and Ms. Hicklin’s

 physician recommended that she take time-off from work.

          107.    During this time, Ms. Hicklin was in the process of seeking out a psychiatrist in

 order to diagnose and treat her now compounding mental health conditions.

          108.    In fact, Ms. Hicklin’s doctor told her that he did not want her going back to work

 at CVS Dacula store before she was evaluated by a psychiatrist because he was worried about her

 mental health after months of continued racism, sexual harassment, and physical assault while

 working there.

          109.    After returning from her leave, Ms. Hicklin requested and was denied any

 accommodations. In fact, she was instructed by the District Manager that she could no longer use

 sick days, that she had to take a mandatory unpaid leave of absence, and that she would not be

 granted a transfer to a different store.

          110.    Ms. Hicklin did not want to take a leave of absence; instead, she had requested a

 transfer to another CVS store in order to avoid the need to take an unpaid leave of absence. This

 was categorically denied.

          111.    It was at this time, finally, after weeks of waiting, that Ms. Hicklin spoke to Ms.

 Payne.

          112.    Ms. Payne enforced the mandatory leave. Ms. Payne told Ms. Hicklin that she was

 not eligible for a paid leave because it was her choice to take medical leave.

          113.    Ms. Hicklin explained to Ms. Payne that it was not her choice to take the unpaid

 medical leave; rather, it was forced upon her when her transfer request was denied.

          114.    Ms. Hicklin was ignored and left on an unpaid leave without any prospect for a

 transfer out of the hostile work environment at the CVS Dacula store or any return to work date.




                                                  14
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 15 of 21 PageID #: 15




          115.   Effectively, CVS terminated Ms. Hicklin in retaliation for complaining about the

 discrimination and harassment based on her race and gender.

         Ms. Hicklin Suffers Extreme Emotional Distress as a Direct Result of the Racial
                         Discrimination and Sexual Harassment at CVS

          116.   Ultimately, Ms. Hicklin’s psychiatrist diagnosed her with PTSD, bipolar disorder

 and episode, and anxiety brought on because of the discrimination and harassment she faced at

 work.

          117.   Ms. Hicklin was prescribed various medications to combat her diagnosis including,

 but not limited to, Latuda, which is an anti-depressant for bipolar depression, Clonazepam, which

 is an anti-anxiety medication, and Zoloft to help with panic attacks and other anxiety-related

 issues, as well as Zofran to prevent nausea related to her anxiety.

          118.   Ms. Hicklin also, as a direct result of the discrimination, harassment and retaliation

 she was subjected to for months, attempted suicide.

          119.   Ms. Hicklin’s suicide attempt was thwarted by her husband who came home early

 from work that afternoon and was able to prevent tragedy.

          120.   Ms. Hicklin has suffered, and continues to suffer, severe emotional distress as a

 result of Defendants’ discriminatory treatment, racial and sexual harassment, and retaliatory firing.

                                            COUNT I
                         Disparate Treatment in Violation of Section 1981
                           (Civil Rights Act of 1866, 42 U.S.C.A §1981)

          121.   Plaintiff hereby repeats and realleges each and every allegation in the preceding

 paragraphs as if set forth fully herein.

          122.   Plaintiff is a black woman, and as such she a protected class under Section 1981.

          123.   Defendants have discriminated against Plaintiff on the basis of her race in violation

 of Section 1981 by, inter alia, denying her the equal terms and conditions of employment, fostering



                                                  15
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 16 of 21 PageID #: 16




 and condoning a hostile work environment where she was subjected to severe and pervasive

 discrimination based on her race/color, refusing to provide her a transfer to another store so she no

 longer had to endure the discrimination, and constructively terminating her employment because

 of her race when forcing her to take unpaid leave instead of a transfer.

        124.    But for Plaintiff’s race, she would not have been refused a transfer and she would

 not have been constructively discharged by placing her on a forced unpaid leave.

        125.    Both the Store Manager and the Operations Manager, both of whom exercised

 managerial/supervisory control over Plaintiff, participated in the discriminatory acts and/or failed

 to take corrective action when they learned of the discriminatory acts.

        126.    Moreover, various other management-level employees certainly knew, or should

 have known, of the abusive conduct because Plaintiff provided management-level personnel with

 enough information, notably by complaining of the conduct, to raise a probability that she was

 being subjected to disparate treatment based on her race.

        127.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

 violation of Section 1981, Plaintiff has suffered, and continues to suffer, monetary and/or

 economic harm, for which she is entitled to an award of damages.

        128.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

 violation of Section 1981, Plaintiff has suffered, and continues to suffer, mental anguish and

 emotional distress, including but not limited to, depression, anxiety, sadness, emotional pain,

 suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses, for which she

 is entitled to an award of damages.

        129.    Defendants’ unlawful and retaliatory actions constitute malicious, willful and

 wanton violations of Section 1981, for which Plaintiff is entitled to an award of punitive damages.




                                                  16
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 17 of 21 PageID #: 17




                                            COUNT II
                         Unlawful Harassment in Violation of Section 1981
                           (Civil Rights Act of 1866, 42 U.S.C.A §1981)

         130.     Plaintiff hereby repeats and re-alleges each and every one of the above-referenced

 allegations as if fully set forth herein.

         131.    Plaintiff is a black woman, and as such she a protected class under Section 1981.

         132.    Defendants have discriminated against Plaintiff on the basis of her race in violation

 of Section 1981 by, inter alia, denying her the equal terms and conditions of employment, fostering

 and condoning a hostile work environment where she was subjected to severe and pervasive

 discrimination based on her race/color.

         133.    But for Plaintiff’s race, she would not have been subjected to a workplace that was

 permeated with highly offensive racist conduct that was significantly pervasive to alter the terms

 and conditions of her employment and create an abusive and offensive working environment.

         134.    For example, Plaintiff was, on a near daily basis, subjected to discriminatory

 harassment, including but not limited to, constant racist comments knowingly made in her

 presence, derogatory comments about her hair (a trait associated with her race), being called racist

 names such as “porch monkey,” and much more.

         135.    The discriminatory conduct was frequent and severe.

         136.    The discriminatory conduct was both objectively and subjectively offensive and

 humiliating.

         137.    The discriminatory conduct interfered with Plaintiff’s work performance and

 impacted the terms and conditions of her employment.

         138.    Both the Store Manager and the Operations Manager, both of whom exercised

 managerial/supervisory control over Plaintiff, participated in the discriminatory acts and/or failed




                                                  17
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 18 of 21 PageID #: 18




 to take corrective action when they learned of the discriminatory acts. As such, a specific basis

 exists for imputing the objectionable conduct to the employer.

        139.    Moreover, various other management-level employees certainly knew, or should

 have known, of the abusive conduct because Plaintiff provided management-level personnel with

 enough information, notably by complaining of the conduct, to raise a probability that she was

 being subjected to disparate treatment based on her race. As such, a specific basis exists for

 imputing the objectionable conduct to the employer.

        140.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

 violation of Section 1981, Plaintiff has suffered, and continues to suffer, monetary and/or

 economic harm, for which she is entitled to an award of damages.

        141.    As a direct and proximate result of Defendants’ unlawful conduct in violation of

 Section 1981, Plaintiff has suffered, and continues to suffer, mental anguish and emotional distress,

 including but not limited to, depression, anxiety, sadness, emotional pain, suffering,

 inconvenience, loss of enjoyment of life, and other non-pecuniary losses, for which she is entitled

 to an award of damages.

        142.    Defendants’ unlawful actions constitute malicious, willful and wanton violations of

 Section 1981, for which Plaintiff is entitled to an award of punitive damages.

        143.    Moreover, various management level employees certainly knew, or should have

 known, of the abusive conduct because Plaintiff provided management-level personnel with

 enough information to raise a probability of racial harassment in the mind of a reasonable

 employer.




                                                  18
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 19 of 21 PageID #: 19




                                            COUNT III
                              Retaliation in Violation of Section 1981
                            (Civil Rights Act of 1866, 42 U.S.C.A §1981)

         144.    Plaintiff hereby repeats and re-alleges each and every one of the above-referenced

 allegations as if fully set forth herein.

         145.    Plaintiff is a black woman, and as such she a protected class under Section 1981.

         146.    Plaintiff engaged in protective activities under Section 1981 when she complained

 to Defendants about the hostile work environment that she endured while employed by Defendants

 because of her race/color on a regular basis.

         147.    Shortly after Plaintiff’s protected complaints, Defendants retaliated against

 Plaintiff by, inter alia, refusing to provide Plaintiff a transfer out of the CVS store where she was

 being subjected to severe and pervasive discrimination based on her race/color and constructively

 discharging her employment for raising concerns about harassment, discrimination, a hostile work

 environment and disparate treatment in the workplace.

         148.    Defendants had no valid business justification for the retaliatory and abusive

 actions taken against Plaintiff following her engagement in protected activity.

         149.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

 violation of Section 1981, Plaintiff has suffered, and continues to suffer, monetary and/or

 economic harm, for which she is entitled to an award of damages.

         150.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

 violation of Section 1981, Plaintiff has suffered, and continues to suffer, mental anguish and

 emotional distress, including but not limited to, depression, anxiety, sadness, emotional pain,

 suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses, for which she

 is entitled to an award of damages.




                                                  19
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 20 of 21 PageID #: 20




        151.    Defendants’ unlawful and retaliatory actions constitute malicious, willful and

 wanton violations of Section 1981, for which Plaintiff is entitled to an award of punitive damages.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

 Defendants, containing the following relief:

        A.      A declaratory judgment that the actions, conduct and practices of Defendants

 complained of herein violate the laws of the United States;

        B.      An award of damages in an amount to be determined at trial, plus prejudgment

 interest, to compensate Plaintiff for all monetary and/or economic damages;

        C.      An award of damages in an amount to be determined at trial, plus prejudgment

 interest, to compensate Plaintiff for all non-monetary and/or compensatory damages, including,

 but not limited to, compensation for her mental anguish and emotional distress, humiliation,

 embarrassment, stress and anxiety, loss of self-esteem, self-confidence and personal dignity, and

 emotional pain and suffering and any other physical and mental injuries;

        D.      An award of damages in an amount to be determined at trial, plus prejudgment

 interest, to compensate Plaintiff for harm to her professional and personal reputations and loss of

 career fulfillment;

        E.      An award of punitive damages;

        F.      An award of costs that Plaintiff has incurred in this action, as well as Plaintiff’s

 reasonable attorneys’ fees to the fullest extent permitted by law; and

        G.      Such other and further relief as the Court may deem just and proper.




                                                  20
Case 1:21-cv-00150-MSM-LDA Document 1 Filed 04/02/21 Page 21 of 21 PageID #: 21




                                        JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.


                                                      Respectfully submitted,


                                                      THE LAW OFFICE OF
                                                      CHRISTOPHER Q. DAVIS, PLLC



 Dated: April 2, 2021                         By:/s/ Christopher Q. Davis
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                                                 21
